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           In the United States Court of Federal Claims
                                            No. 19-859
                                     (Filed: 18 January 2022)

***************************************
E-NUMERATE SOLUTIONS, INC., and       *
E-NUMERATE, LLC,                      *
                                      *
                  Plaintiffs,         *
                                      *
v.                                    *
                                      *
THE UNITED STATES,                    *
                                      *
                  Defendant           *
                                      *
***************************************

                                             ORDER

        On 9 November 2021, the Court entered a modified claim construction schedule. See
Order, ECF No. 64. On 12 January 2022, plaintiffs filed an unopposed motion to modify the
claim construction briefing schedule, which the Court granted the same day. See Pls.’
Unopposed Mot. to Amend the Scheduling Order, ECF No. 65; Order, ECF No. 66. On 14
January 2022, plaintiffs filed an emergency motion for a hearing to address claim construction,
ECF No. 67. According to plaintiffs, the parties are unable to resolve the following issues: “(1)
the number of terms allowed to be addressed in claim construction; (2) how those terms are to be
allocated between the parties; and (3) the permissible length and format of the parties’ respective
opening briefs.” Pls.’ Emergency Mot. Req.’g Hr’g to Address Claim Construction at 1, ECF
No. 67.

        In light of plaintiff’s motion, the Court STAYS all filing deadlines contained within in its
12 January 2022 amended scheduling order, ECF No. 66. The government SHALL FILE a
response to plaintiff’s emergency motion, ECF No. 67, on or before 21 January 2022 at 5:00
p.m. (EST). As agreed by counsel for the parties, the Court will hold a telephonic status
conference on 25 January 2022 at 2:30 p.m. (EST). The Court will separately send instructions
for joining the call. The Court will address any issues the parties have regarding expert
declarations at the status conference.

       IT IS SO ORDERED.

                                                     s/ Ryan T. Holte
                                                     RYAN T. HOLTE
                                                     Judge
